          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:07cr267



UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
DERRICK LEWIS,            )
                          )
             Defendant.   )
                          )

     THIS MATTER is before the Court on the Defendant’s First Motion to

Continue Docket Call [Doc. 13].

     The Defendant Derrick Lewis moves to continue the trial of this

matter, which is currently scheduled for the April 14, 2008 criminal term.

For grounds, the Defendant states that the parties are in the process of

negotiating the final terms of a plea agreement. The Defendant further

represents that the Government does not oppose his request for a

continuance.




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      The Defendant has not stated adequate grounds for a continuance of

the trial of this matter. Because the parties are in the process of

negotiating the final terms of a plea agreement, however, the Court will

treat the Motion as an alternative motion for the extension of the plea

deadline and will allow the parties such an extension of time to file a plea

agreement until April 7, 2008.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

First Motion to Continue Docket Call [Doc. 13] is DENIED, but the

Defendant is GRANTED an extension of time to file a plea agreement until

April 7, 2008.

      IT IS SO ORDERED.



                                        Signed: April 1, 2008




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